     Case 3:22-mj-01074-SDV Document 21-1 Filed 06/08/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STA TES OF AMERICA
                                                      Case No. 3:22-mj-1074 (SDV)
               v.

CHRISTOPHER BA TES JR.



                                WAIVER OF SPEEDY TRIAL

       Christopher Bates Jr. hereby waives those rights accorded him by Federal Rule of Criminal

Procedure 5 .1 ( c ), requiring that a preliminary hearing be held within 21 days of the initial

appearance if the defendant is not in custody, or within 14 days of the initial appearance if the

defendant is in custody, and the Speedy Trial Act of 1974, 18 U.S.C. § 3161 (b), requiring that an

indictment or information be filed within 30 days of the defendant's arrest. In support of this

waiver, Mr. Bates states as follows:

       He is represented by and has consulted with his attorney concerning this waiver;

       He understands that by signing this document he will be giving up the rights accorded him

by Federal Rule of Criminal Procedure 5.1 and the Speedy Trial Act; and

       He requests that the Court find that the requested continuance is in his best interest and

outweighs the public interest in a speedy trial. He requests that the Court exclude the period from

June 13, 2023 until September 13, 2023.



  /M~
&i'istopher Bates Jr.
                                                6-)7 /cJ3
                                             Date
